 1                    DECLARATION OF RICHARD G. NOVAK
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 3         I, RICHARD G. NOVAK, declare as follows:
 4         1.     Along with Shaffy Moeel, I am counsel of record for defendant
 5   Robert Alvin Justus, Jr. (Mr. Justus) in this matter. I have personal knowledge of
 6   the facts set forth in this Declaration and, if called as a witness, could and would
 7   testify competently to such facts under oath.
 8         2.     This declaration is filed in support of Mr. Justus’ Reply in Support of
 9   his Motion to Compel the United States Attorney to Give Counsel for the
10   Defendant a Reasonable Opportunity to Present Information Which May Bear on
11   the Decision Whether to Seek the Death Penalty.
12         3.     Attached to this declaration as Exhibit A are true and correct copies of
13   the Notices of Intent to Seek the Death Penalty filed by the United States in the
14   prosecutions of Tsarnaev, Roof and Bowers, the three federal death penalty cases
15   referred to in the government’s opposition.
16         4.     Attached to this declaration as Exhibit B is a true and correct copy of
17   the Table of Contents from the opening brief in the appeal of Dylan Roof’s
18   conviction and sentence of death, which I obtained from PACER.
19         5.     Attached to this declaration as Exhibit C is a true and correct but
20   redacted copy of the discovery cover letter and index produced to counsel for Mr.
21   Justus on October 9, 2020.
22         I declare under penalty of perjury under the laws of the United States of
23   America that the foregoing is true and correct.
24         Executed on this 20th day of October 2020.
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                                               /s/ Richard G. Novak
26                                           RICHARD G. NOVAK
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